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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

                                            CLERK’S MINUTES

 CASE             8:24-cr-276-VMC-LSG                     DATE:      April 29, 2025
 NO.:
 HONORABLE VIRGINIA M. HERNANDEZ
 COVINGTON
                                                          GOVERNMENT COUNSEL
                                                          Carlton Curtiss Gammons
 UNITED STATES OF AMERICA

 v.

 Miguel Angel Fortier, Jr.                                 Nicholas Gianni Matassini, CJA

 COURT REPORTER: Lori Cecil Vollmer                       DEPUTY CLERK:            Magaly Justiniano

                                                          COURTROOM:               14B
 TIME: 10:00 AM- 10:47 AM
 TOTAL: 47 mins
                                                          PROBATION:               Johanna Perez


PROCEEDINGS:             CRIMINAL MINUTES – SENTENCING REFORM ACT MINUTES

Court called to order.

Statements made by counsel.

Defendant is adjudged guilty on Count One of the Indictment.

Defendant’s Oral Motion for downward variance is denied for the reasons stated on the record.

Imprisonment: TWENTY-ONE (21) MONTHS.

The Court makes the following recommendations to the Bureau of Prisons:

      •   Defendant be housed at the nearest Bureau of Prison’s medical facility where his medical needs
          can be accommodated.
      •   Defendant be evaluated for participation in any educational and vocational programs deemed
          appropriate by the Bureau of Prisons.
      •   Defendant be allowed to study for and obtain his GED.
      •   Defendant be allowed to participate in college level instructional courses once he completes his
          GED.
      •   Defendant be allowed to participate in the UNICOR program, if eligible.
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Supervised Release: THREE (3) YEARS.

Fine is waived.

Restitution: $1,462,471.92 (See Criminal Monetary Penalties section of the Judgment for details) joint
and several with Restitution shall be paid jointly and severally with codefendant Brock David Fischer,
and related cases Matthew Bergwall (Docket No.: 8:23-cr-388-TPB-CPT) and Owen Sheed (8:25-cr-88-
SDM-NHA).

Special Assessment: $100.00 to be paid immediately.

Special conditions of supervised release:

•       The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the
        probation officer's determination that additional drug urinalysis is necessary, the Court authorizes random
        drug testing not to exceed 104 tests per year. Defendant shall refrain from any unlawful use of a controlled
        substance. Further the defendant shall submit to one drug within 15 days of placement on supervision and
        at least 2 periodic drug tests thereafter as directed by the probation officer.
•       The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit,
        acquisitions or obligating himself/herself for any major purchases, or attempting to do so, without the
        express prior approval of the probation officer.
•       The defendant shall provide the probation officer access to any requested financial information.
•       Defendant is to cooperate in the collection of DNA as instructed by the Probation Officer.

Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons
as notified by the United States Marshal. The defendant is ordered to immediately proceed to the Office
of the United States Marshal for processing and further instructions.

Sealed Motion at Doc. 79-1 is granted for the reasons stated on the record.

Notice of forfeiture at Doc. 68 is made part of the judgment.

Defendant advised of right to appeal and to counsel on appeal.


                  GUIDELINE RANGE DETERMINED BY THE COURT AT SENTENCING


                Total Offense Level                   18

                Criminal History Category:            I

                Imprisonment Range                    27-33 months

                Supervised Release Range              1-3 years

                Restitution:                          $1,462,471.92

                Fine Range                            $10,000 - $100,000

                Special Assessment                    $100.00
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Adjustments/changes to the PSR: Defendant’s objection for minor role is sustained and the objection
to sophisticated means is overruled for the reasons stated on the record.
